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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

FAHAD KHAWAJA,                         )
AND ALL OTHERS SIMILARLY SITUATED      )
           PLAINTIFFS,                 )
                                       )
v.                                     )        Civil Action
                                       )        File No.
ALIA ENTERPRISES, INC. D/B/A MONROE    )
SHELL D/B/A MONROE TEXACO              )
D/B/A SHAVER CHEVRON;                  )
CENTERVILLE PETROLEUM, LLC D/B/A       )
YELLOW ROSE TRAVEL PLAZA;              )        Jury Demanded
BEACH & BEACHES, INC.                  )
D/B/A PORT SHAMROCK;                   )
ALI ROSHAN, INC. D/B/A PRESTON CITGO;  )
OCEAN PETROLEUM, INC. D/B/A            )
SOUTH SHORE SHELL; AND,                )
MEHBOOB ALI MOHAMMED                   )
             Defendants.               )
                                       )
______________________________________________________________________________

                       PLAINTIFFS’ ORIGINAL COMPLAINT
_____________________________________________________________________________

       NOW COME PLAINTIFFS, FAHAD KHAWAJA, and all others similarly situated and

complain of Defendants Alia Enterprises, Inc. d/b/a Monroe Shell d/b/a Monroe Texaco d/b/a

Shaver Chevron; Centerville Petroleum, LLC d/b/a Yellow Rose Travel Plaza; Beach &

Beaches, Inc. d/b/a Port Shamrock; Ali Roshan, Inc. d/b/a Preston Citgo; Ocean Petroleum, Inc.

d/b/a South Shore Shell; and, Mehboob Ali Mohammed (hereinafter collectively referred to as

“Defendants”), and for cause of action would show the Court as follows:
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                                                I.
                                        INTRODUCTION

       1.      This is a collective action suit to recover unpaid overtime wages brought under

the Fair Labor Standards Act (“FLSA”), 29 U.S.C. § 201 et seq.

       2.      This action seeks equitable relief, compensatory and liquidated damages,

attorney‟s fees, taxable costs of court, and post-judgment interest for Defendants‟ willful failure

to pay overtime pursuant to 29 U.S.C. § 216(b) for Plaintiff Fahad Khawaja (“Plaintiff” or “Mr.

Khawaja”), and all others similarly situated, in the course of their employment with the

Defendants.

       3.      Mr. Khawaja and all others similarly situated demand a jury trial on all issues

that may be tried to a jury.

       4.      This action is authorized and instituted pursuant to the Fair Labor Standards Act,

29 U.S.C. § 201 et seq. and state common law.


                                                II.
                                  JURISDICTION AND VENUE

       5.      Plaintiff, on behalf of himself and Members of the Class, brings this action to

recover unpaid overtime compensation from the Defendants pursuant to the Fair Labor Standards

Act, 29 U.S.C. § 201 et seq.

       6.      This Court also has jurisdiction of these claims pursuant to 28 U.S.C. §1331 and

28 U.S.C. §1367.

       7.      This Court has supplemental jurisdiction over Texas state law. Any state law

claims to be alleged are so related in this action within such original jurisdiction that they form

part of the same case or controversy under Article III of the United States Constitution.

       8.      Venue is proper in the Southern District of Texas under 28 U.S.C. § 1441(a).


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                                               III.
                                            PARTIES

       9.      Plaintiff is a resident of Galveston County, Texas. Plaintiff was an employee of

Defendants within the meaning of the FLSA during the three-year period preceding the filing of

this complaint. Plaintiff worked as a laborer for work weeks of more than forty hours.

       10.     The „Members of the Class‟ are all current and former non-exempt employees

who were employed by Defendants during the three-year period preceding the filing of this

complaint. Like Mr. Khawaja, these persons engaged in interstate commerce or in the production

of goods for commerce in performing their duties for Defendants.

       11.     Defendant, Alia Enterprises, Inc. d/b/a Monroe Shell d/b/a Monroe Texaco d/b/a

Shaver Chevron, is a validly existing Texas corporation. This Defendant may be served by

serving its registered agent, Mr. Mehboob Ali Mohammed, at 24 Sunset Park Lane, Sugar Land,

Texas 77479. This Defendant is an enterprise engaged in interstate commerce or the production

of goods for commerce. Furthermore, this Defendant has acted, directly or indirectly, in the

interest of an employer with respect to Plaintiff and Members of the Class.

       12.     Defendant, Centerville Petroleum, LLC d/b/a Yellow Rose Travel Plaza, is a

validly existing Texas limited liability company. This Defendant may be served by serving its

member, Mr. Mehboob Ali Mohammed, at 24 Sunset Park Lane, Sugar Land, Texas 77479. This

Defendant is an enterprise engaged in interstate commerce or the production of goods for

commerce. Furthermore, this Defendant has acted, directly or indirectly, in the interest of an

employer with respect to Plaintiff and Members of the Class.

       13.     Defendant, Beach & Beaches, Inc. d/b/a Port Shamrock, is a validly existing

Texas corporation. This Defendant may be served by serving its registered agent, Mr. Mehboob

Ali Mohammed, at 24 Sunset Park Lane, Sugar Land, Texas 77479. This Defendant is an


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enterprise engaged in interstate commerce or the production of goods for commerce.

Furthermore, this Defendant has acted, directly or indirectly, in the interest of an employer with

respect to Plaintiff and Members of the Class.

       14.     Defendant, Ali Roshan, Inc. d/b/a Preston Citgo, is a validly existing Texas

corporation. This Defendant may be served by serving its registered agent, Mr. Mehboob Ali

Mohammed, at 24 Sunset Park Lane, Sugar Land, Texas 77479. This Defendant is an enterprise

engaged in interstate commerce or the production of goods for commerce. Furthermore, this

Defendant has acted, directly or indirectly, in the interest of an employer with respect to Plaintiff

and Members of the Class.

       15.     Defendant, Ocean Petroleum, Inc. d/b/a South Shore Shell, is a validly existing

Texas corporation. This Defendant may be served by serving its registered agent, Mr. Mehboob

Ali Mohammed, at 24 Sunset Park Lane, Sugar Land, Texas 77479. This Defendant is an

enterprise engaged in interstate commerce or the production of goods for commerce.

Furthermore, this Defendant has acted, directly or indirectly, in the interest of an employer with

respect to Plaintiff and Members of the Class.

       16.     Defendant, Mehboob Ali Mohammed, is an individual who may be served with

summons at his residence at 24 Sunset Park Lane, Sugar Land, Texas 77479, or wherever else he

may be found. This Defendant is an individual engaged in interstate commerce or the production

of goods for commerce, and he has acted, directly or indirectly, in the interest of an employer

with respect to Plaintiff and Members of the Class.

       17.     Whenever in this complaint it is alleged that any or all of the above named

Defendants committed any act or omission, it is meant that Defendants‟ officers, directors, vice-

principals, agents, servants, or employees committed such act or omission and that at the time



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such act or omission was committed, it was done with the full authorization, ratification or

approval of each Defendant or was done in the routine normal course and scope of employment

of Defendants‟ officers, directors, vice-principals, agents, servants, or employees.


                                                 IV.
                                      CLASS ALLEGATIONS

       18.     Plaintiff files this case as an “opt-in” collective action, as is specifically allowed

by 29 U.S.C. § 216(b).

       19.     The class that Plaintiff seeks to represent may be described as follows:

               All current and former non-exempt salaried and hourly
               gasoline station and convenience store employees (“Clerks”)
               who were employed by the Defendants during the three-year
               period preceding the filing of this complaint.

       20.     Plaintiff seeks to represent only those members of the above-described group

who, after appropriate notice of their ability to opt into this action, have provided consent in

writing to be represented by Plaintiff‟s counsel as required by 29 U.S.C. § 216(b).

       21.     Persons choosing to opt-in will be listed on subsequent pleadings and copies of

their written consents to sue will be filed with the Court.

       22.     This action is appropriate for collective action certification because each named

Defendant herein has acted in the same manner with regard to all members of the Plaintiff class.

                                                 V.
                                               FACTS

       23.     At all times relevant to this action, Defendants have been subject to the

requirements of the FLSA.

       24.     For purposes of this action, the “relevant period” is defined as the period

commencing on the date three years prior to the filing of this action, and continuing thereafter.



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       25.     Defendants employed Plaintiff from November 15, 2010 to May 13, 2011.

       26.     During this period of his employment, Plaintiff worked as a Clerk.

       27.     From November 15, 2010 until May 8, 2011, Plaintiff worked for the Defendants

at their franchised “Shell” gasoline station and convenience store doing business as “Monroe

Shell”, located at 8528 Gulf Freeway, Houston, Texas 77017.

       28.     From May 9, 2011 until May 14, 2011, Plaintiff worked for the Defendants at

their franchised “Texaco” gasoline station and convenience store doing business as “Monroe

Texaco”, located at 8450 Gulf Freeway, Houston, Texas 77017.

       29.     Defendants agreed to pay Plaintiff $8.50 per hour during his period of

employment with Monroe Shell, and $9.00 for his employment at Monroe Texaco.

       30.     As a Clerk, Plaintiff‟s job duties included ringing up sales, stocking inventory,

and tending to customers‟ requests for purchases of gasoline and / or grocery items.

       31.     In this capacity, Plaintiff has performed, during a significant period of most days,

what was or is otherwise work performed by “hourly” or non-exempt employees because the job

required it and Defendants‟ management demanded it.

       32.     During all or part of the past three years, while working for the Defendants as a

Clerk, Plaintiff has been required to work overtime hours in excess of 40 hours worked during

each and every seven-day workweek.

       33.     During these hours worked, Plaintiff has performed the function of his job, which

included the performance of duties typically performed by “hourly” paid non-exempt employees

because the job required it and Defendants‟ management demanded it.

       34.     Plaintiff typically worked for the Defendants during the evening shift from 3:00

p.m. until 12:00 a.m., seven days a week.



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        35.    As such, Plaintiff typically worked a total of 63 hours a week for the Defendants.

        36.    Plaintiff did not receive a lunch or other break, and he was expected to eat his

meals during his shift.

        37.    Defendants failed to pay overtime wages to Plaintiff for all overtime hours he

worked.

        38.    Defendants employ other Clerks that perform the same or similar duties as the

Plaintiff.

        39.    During at least the past three years, all of the Clerks at all business locations

owned and / or operated by the Defendants were routinely required to work in excess of 40 hours

per week to perform the function of their job which included the performance of duties otherwise

typically performed by “hourly” paid non-exempt employees because the job required it and

Defendants‟ management demanded it.

        40.    Defendants required Plaintiff and all others similarly situated to perform all

necessary work to include the performance of those duties otherwise typically performed by

“hourly” employees which routinely required Plaintiff and other similarly situated employees to

work “overtime” hours as defined by 29 U.S.C. § 201 et seq., for which they were not paid.

        41.    Defendant Alia Enterprises, Inc. owns (or operates), or has owned (or operated),

the following gasoline stations / convenience stores: 1) “Monroe Shell”, located at 8525 Gulf

Freeway, Houston, Texas 77017; 2) “Monroe Texaco”, located at 8450 Gulf Freeway, Houston,

Texas 77017; and 3) “Shaver Chevron”, located at 4120 S. Shaver, Houston, Texas 77034.

        42.    Defendant Alia Enterprises, Inc. owns (or operates), or has owned (or operated),

one or more gasoline stations and/or convenience stores in addition to “Monroe Shell”, “Monroe

Texaco”, and “Shaver Chevron”.



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       43.       The sole owner of Alia Enterprises, Inc. is Defendant Mehboob Ali Mohammed.

       44.       Defendant Centerville Petroleum, LLC owns (or operates), or has owned (or

operated), the following gasoline station / convenience store: “Yellow Rose Travel Plaza”,

located in Madisonville, Texas.

       45.       Defendant Centerville Petroleum, LLC owns (or operates), or has owned (or

operated), one or more gasoline stations and/or convenience stores in addition to “Yellow Rose

Travel Plaza”.

       46.       Defendant Mehboob Ali Mohammed is either the sole owner of Centerville

Petroleum LLC, or shares an ownership interest in the entity with Messrs. Noordin Jhaver and

Sameer M. Hudda.

       47.       Defendant Beach & Beaches, Inc. owns (or operates), or has owned (or operated),

the following gasoline station / convenience store: “Port Shamrock”, located at 105 Highway 146

South, La Porte, Texas 77571.

       48.       Defendant Beach & Beaches, Inc. owns (or operates), or has owned (or operated),

one or more gasoline stations and/or convenience stores in addition to “Port Shamrock”.

       49.       Defendant Mehboob Ali Mohammed is either the sole owner of Beach &

Beaches, Inc., or shares an ownership interest in the entity with Mr. Adnan K. Jaffar.

       50.       Defendant Ali Roshan, Inc. owns (or operates), or has owned (or operated), the

following gasoline station / convenience store: “South Shore Shell”, located at 3390 FM 518,

League City, Texas 77573.

       51.       Defendant Ali Roshan, Inc. owns (or operates), or has owned (or operated), one or

more gasoline stations and/or convenience stores in addition to “South Shore Shell”.

       52.       The sole owner of Ali Roshan, Inc. is Defendant Mehboob Ali Mohammed.



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       53.     At these and other businesses, Defendants employ other Clerks who perform the

same or similar duties as the Plaintiff.

       54.     During at least the past three years, all of the Clerks at all business locations

owned and/or operated by the Defendants were routinely required to work in excess of 40 hours

per week to perform the function of their job which included the performance of duties otherwise

typically performed by “hourly” paid non-exempt employees because the job required it and

Defendants‟ management demanded it.

       55.     Defendants required Plaintiff, and all others similarly situated, to perform all

necessary work to include the performance of those duties otherwise typically performed by

“hourly” employees which routinely required Plaintiff and other similarly situated employees to

work “overtime” hours as defined by 29 U.S.C. § 201 et seq., for which they were not paid.

       56.     In addition to not being paid overtime wages, Defendants have failed to pay

Plaintiff his last paycheck, which includes 53 hours worked at Monroe Shell during a 7-day

workweek, and 41 hours worked at Monroe Texaco during a 7-day workweek interrupted by

Plaintiff‟s untimely job termination. Both of these weeks include unpaid straight-time and

overtime wages.


                                               VI.
                                   FIRST CLAIM FOR RELIEF
                          (Unpaid overtime compensation under the FLSA)

       57.     Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

       58.     Plaintiff and all others similarly situated are considered non-exempt employees.

       59.     Plaintiff and all others similarly situated are entitled to receive overtime pay for

all hours they have worked in excess of 40 during each seven-day workweek.


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        60.      During Plaintiff‟s employment, he routinely worked more than 40 hours a week.

        61.      Defendants did not pay Plaintiff and all others similarly situated, their entitled

overtime pay for those hours they worked in excess of 40 per week.

        62.      Defendants have violated 29 U.S.C. § 201 et seq. by failing to pay the Plaintiff

and all other similarly situated employees “overtime” pay for all hours worked in excess of 40

hours per week.

        63.      Defendants have not made a good faith effort to comply with the FLSA, and have

thus violated the requirements of the federal statute.

        64.      Defendants do not possess accurate, complete and contemporaneous employee

payroll records indicating the number of hours worked per workweek by Plaintiff and by all

other similarly situated employees.

        65.      Each Defendant‟s conduct was willful within the meaning of 29 U.S.C. § 255(a).

        66.      No exemption excused the Defendants from paying Plaintiff and all others

similarly situated, overtime pay for hours worked over forty per week.

        67.      Rather, Defendants knowingly, willfully, or with reckless disregard carried out

their illegal pattern and practice regarding overtime compensation due to Plaintiff and to all

others similarly situated.

        68.      Plaintiff and all others similarly situated seek an amount of back-pay equal to the

unpaid overtime compensation from the date they commenced employment for the Defendants

until the date of trial.

        69.      Plaintiff and all others similarly situated further seek an additional equal amount

as liquidated damages, as well as reasonable attorney‟s fees and costs as provided for by 29

U.S.C. § 216(b), along with post-judgment interest at the highest rate allowed by law.



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                                 SECOND CLAIM FOR RELIEF
                                      (Breach of Contract)

       70.      Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

       71.      By withholding Plaintiff‟s wages earned during the respective periods of his

employment, Defendants have breached their agreement to timely pay straight-time and overtime

wages earned.

       72.      Plaintiff therefore sues for his unpaid wages and all additional damages allowed

for Defendants‟ breach of their agreement.

                                  THIRD CLAIM FOR RELIEF
                               (Claim for unpaid wages under the
                                 Texas Labor Code, Chapter 61)

       73.      Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

       74.      By withholding Plaintiff‟s wages earned during the respective periods of his

employment, Defendants have violated Texas Labor Code, Chapter 61, et seq, which specifically

requires the employer to pay its employees all of their wages earned.

       75.      Plaintiff therefore sues for unpaid wages and all additional damages allowed

under the Texas Labor Code, Chapter 61, et seq.


                                               VII.
                          FLSA COLLECTIVE ACTION ALLEGATIONS

       76.      Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

       77.      Other employees have been victimized by Defendants‟ pattern, practice, and

policy that is in violation of the FLSA.


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         78.   Plaintiff is aware that the illegal practices and policies of Defendants have been

imposed on other workers.

         79.   Other, similarly situated employees are being denied their lawful wages.

         80.   Accordingly, each Defendant‟s pattern and practice of failing to pay the

employees‟ overtime pay (at time and one-half) as required by the FLSA results from

Defendants‟ general application of policies and practices, and does not depend on the personal

circumstances of the members of the class.

         81.   Thus, Plaintiff‟s experience is typical of the experience of the members of the

class.

         82.   The specific job titles or job requirements of the various members of the class do

not prevent collective treatment.

         83.   All employees, regardless of their job requirements or rates of pay, who are

denied overtime compensation for hours worked in excess of 40 per week, are similarly situated.

         84.   Although the amount of damages may be individual in character, there is no

detraction from the common nucleus of liability facts.

         85.   All current and former persons employed by Defendants‟ businesses, who at any

time during the three years prior to the date of filing of this action to the date of judgment who

were denied overtime pay for hours worked in excess of forty (40) in any given workweek are

properly included as members of the class.

                                               VIII.
                                       ATTORNEYS’ FEES

         86.   Each and every allegation contained in the foregoing paragraphs is re-alleged as if

fully rewritten herein.

         87.   Plaintiff, and all others similarly situated, seek to recover attorneys‟ fees and costs


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for bringing this action pursuant to the FLSA, 29 U.S.C. § 201 et seq.


                                                  IX.
                                    DEMAND FOR A JURY TRIAL

        88.      Plaintiff, and all others similarly situated, demand that the trial of this matter be

held before a jury of their peers, and that such jury make determinations of each factual dispute

arising in this litigation.


                                                  X.
                                       PRAYER FOR RELIEF

      WHEREFORE, PREMISES CONSIDERED, Plaintiff FAHAD KHAWAJA and all others

similarly situated respectfully request that upon final hearing, the Court grant Plaintiff, and all

others similarly situated, relief as follows:

      a.      Declare that Defendants have violated the Fair Labor Standards Act, specifically 29

              U.S.C. § 207, by failing to pay Plaintiff, and all others similarly situated, overtime

              pay at one and one half times their regular hourly rate for all hours in excess of 40

              worked during each seven-day work period.

      b.      Enjoin Defendants from failing to pay Plaintiff, and all others similarly situated, at

              one and one half times their regular hourly rates for all hours in excess of 40 worked

              in each seven-day workweek.

      c.      Order Defendants to pay Plaintiff, and all others similarly situated, overtime wages

              for hours worked during the relevant period, together with an equal amount as

              liquidated damages.




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d.   Order Defendants to pay Plaintiff all unpaid wages as allowed under the Fair Labor

     Standards Act, 29 U.S.C. § 201 et seq.; the Texas Labor Code, Chapter 61, et seq.;

     and state common law.

e.   Order Defendants to pay Plaintiff and all other similarly situated employees‟

     reasonable attorneys‟ fees and costs pursuant to 29 U.S.C. § 216(b).

f.   Order Defendants to pay post-judgment interest at the highest lawful rate for all

     amounts, including attorney fees, awarded against the Defendants.

g.   Order all further relief, whether legal, equitable or injunctive, as may be necessitated

     to effectuate full relief to Plaintiff, and to all other similarly situated employees of

     Defendants.


                                              Respectfully submitted,
                                              ALI S. AHMED, P.C.


                                      By:     /s/ Salar Ali Ahmed
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